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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA

  DECURTIS LLC,
                Plaintiff,
  v.                                                   Civil Action No. 20-22945-Civ-Scola
  CARNIVAL CORPORATION,
                Defendant.


  CARNIVAL CORPORATION,
                Plaintiff,
  v.
  DECURTIS CORPORATION and
  DECURTIS LLC,
                Defendants.



      FIRST AMENDED COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
                      AND REQUEST FOR JURY TRIAL

              DeCurtis LLC files this complaint for damages and injunctive relief against Carnival

    Corporation and states as follows:

         1.        This is an action for declaratory judgments of unenforceability and non-

  infringement under the patent laws of the United States, for violation of Section 2 of the Sherman

  Act, tortious interference with contract, and unfair competition.

         2.        DeCurtis LLC seeks declaratory judgments of unenforceability and non-

  infringement because Carnival Corporation (“Carnival”) has raised a real and immediate dispute

  concerning Carnival U.S. Patent Nos. 10,037,642 (“the ’642 Patent”); 10,045,184 (“the ’184

  Patent”); 10,049,516 (“the ’516 Patent”); 10,157,514 (“the ’514 Patent”); 10,171,978 (“the ’978

  Patent”); 10,304,271 (“the ’271 Patent”); and 10,499,228 (“the ’228 Patent”). Specifically,

  DeCurtis LLC seeks a declaration of unenforceability as to all seven of these Carnival Patents,

  upon which Carnival sued for patent infringement or has otherwise used to threaten DeCurtis

  LLC and its customers. DeCurtis LLC further seeks a declaration of non-infringement as to

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  whether the DeCurtis Experience Platform and associated technology that DeCurtis LLC has

  implemented for its customers Virgin Cruise Intermediate Limited, Inc. (“Virgin”) and

  Norwegian Cruise Line (“NCL”) (the “DXP System”) infringes or causes infringement of one or

  more claims of the ’184 Patent, the ’514 Patent, the ’271 Patent, the ’642 Patent, and the ’228

  Patent.

            3.   Additionally, Carnival has monopolized and restrained trade in the market for

  guest engagement systems that provide seamless engagement with cruise ship facilities through

  the use of wireless sensing technologies. Carnival is also attempting to monopolize the market

  for cruise travel with such systems. As detailed below, Carnival effected this unlawful

  monopolization by, among other things: (a) fraudulently obtaining patents from the U.S. Patent

  and Trademark Office (“USPTO”); (b) threatening objectively baseless litigation based on

  patents known to be unenforceable with the intent to adversely affect DeCurtis LLC’s business;

  and (c) threatening and interfering with DeCurtis LLC’s customers and potential customers. This

  conduct threatens to cause significant and irreparable damage to DeCurtis LLC.

                                             The Parties

            4.   Plaintiff DeCurtis LLC is a Delaware limited liability corporation headquartered

  in Orlando, Florida. DeCurtis LLC designs, develops, engineers, manufactures, markets, and

  sells systems and methods for providing guests a seamless engagement with cruise ship facilities

  through the use of wireless sensing technologies.

            5.   Defendant Carnival Corporation (“Carnival”) is a Panamanian corporation with its

  principal place of business in Miami, Florida. Among other businesses, Carnival operates cruise

  lines for use by the public. Carnival is listed as the assignee of the ’642, ’184, ’516, ’514, ’978,

  ’271, and ’228 patents

            6.   Carnival has indicated its intent to sell to other cruise lines systems and methods

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  for providing guests a seamless engagement with cruise ship facilities through the use of wireless

  sensing technologies. In other words, Carnival intends to compete with DeCurtis LLC.

                                          Jurisdiction And Venue

          7.          This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1338(a),

  2201(a), and 1337(a). This action arises under the antitrust laws of the United States, specifically

  Sections 4 and 16 of the Clayton Act (15 U.S.C. §§ 15, 26) for violations of Section 2 of the

  Sherman Act (15 U.S.C. § 2). This action also arises under the Declaratory Judgment Act,

  28 U.S.C. § 2201, and under the patent laws of the United States, 35 U.S.C. §§ 100, et seq. This

  Court has jurisdiction over DeCurtis LLC’s state-law claims against Carnival under 28 U.S.C. §

  1367(a).

          8.          Venue is proper under 15 U.S.C. §§ 15 and 22, and 28 U.S.C. § 1391(b)(1) and

  (2), (c)(2), and (d), and 1400(b). The injury to DeCurtis LLC arising from Carnival’s unlawful

  monopolization substantially occurred in this district. Moreover, Carnival accuses DeCurtis of

  committing acts of infringement in this district. Further, Carnival maintains a sales manager and

  other personnel and facilities in this district. Carnival cruise ships also depart from ports in this

  district, including Port Canaveral, Jacksonville, and Tampa.

          9.          This Court has personal jurisdiction over Carnival pursuant to 15 U.S.C. § 22

  because Carnival transacts business and maintains substantial contacts in this district. Further,

  Carnival’s conduct had the intended effect of causing injury to DeCurtis LLC, which is located

  in this district.

          10.         This Court also has personal jurisdiction over Carnival pursuant to 15 U.S.C. § 22

  because Carnival is a foreign company that transacts business in this district and throughout the

  United States.



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                                        General Allegations


         11.     Competitors in the cruise industry are eager to identify new ways to enhance the

  on-board experience of their guests. Cruise lines with the ability to provide guests with a “VIP”

  experience through a higher level of service have a competitive advantage.

         12.     One way for a cruise line to provide a “VIP” experience to its guests is through a

  guest engagement system that allows a seamless engagement with the facility through the use of

  wireless sensing technologies. Such a system consists of small, wearable or readily portable

  guest devices that provide near field (“touch”) communications to certain sensors as well as

  broadcast signals to other sensors located throughout the ship. The sensors can be connected to a

  system or systems that manage information regarding the guest, including the guest’s preferences

  for food, drink, entertainment, and experiences.

         13.     These systems allow a guest to board the ship without the need to go through

  check in. Additionally, among many other benefits, when the guest enters restaurants, bars, spas,

  and casinos, the systems recognize the guest and alert cruise personnel to the guest’s stated

  preferences for food, drink, and experiences without requiring the guest to identify those

  preferences. The systems also obviate the need for the guest to carry credit cards or cash.

         14.     David DeCurtis has been a pioneer in developing such guest engagement systems

  for cruise ships and has been involved in their design and engineering since at least 2008. The

  company that he founded—DeCurtis LLC—has designed and engineered innovative guest

  engagement systems.

         15.     From approximately 2008 to the present, DeCurtis LLC has worked as an

  independent contractor developing guest engagement systems for Disney Cruise Lines.

         16.     DeCurtis LLC’s first project for Disney Cruise Lines was to design a guest

  embarkation system. At the time, Disney Cruise Lines had two new ships—the Disney Dream
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  and the Disney Fantasy—that nearly doubled the passenger capacity of other ships in the Disney

  line. Disney had been planning to invest in new port facilities to accommodate the much larger

  passenger volume. However, DeCurtis LLC designed and built a guest embarkation system

  called “Worldwide Quick” that hastened the onboarding process. The success of that system,

  which used near field wireless communication (“NFC”), allowed Disney to forego the expense of

  building new port facilities.

         17.     Next, DeCurtis LLC designed for Disney Cruise Lines a system used to muster

  passengers to lifeboat stations in the event of an emergency. This system, known as the “Mobile

  Assembly Suite” or “MAS,” initially used guest devices that emitted NFC communications along

  with readers placed in locations throughout the ship. Ultimately, DeCurtis LLC improved upon

  the MAS system to include Bluetooth low-energy wireless communications (“BLE”).

         18.     Executives at Disney Cruise Lines concluded that the MAS system was such an

  important safety improvement for the industry at large that it allowed DeCurtis LLC to market

  the system to other cruise lines. As such, the MAS system is currently in use by a number of

  cruise lines, including Carnival.

         19.     While DeCurtis LLC was working on these successful projects for Disney Cruise

  Lines, John Padgett had become the Senior Vice President for Guest Experiences at Disney’s

  theme parks group.

         20.     Padgett had not been involved with DeCurtis LLC’s work on either the

  Worldwide Quick guest embarkation system or the MAS system.

         21.     Padgett was the head of a secret project at Disney known internally as the “X

  Band” project, later known as the “MagicBand” project, a guest engagement system.

         22.     Padgett wanted to persuade Disney management to authorize a billion dollar

  budget for this project. Accordingly, Padgett planned a presentation to top executives, including

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  Disney’s chairman (Bob Iger) and the head of theme parks and cruise lines businesses (Tom

  Staggs). For use in the presentation, Padgett obtained an approximately 50,000 square-foot

  movie studio in the Hollywood Studios theme park to build replicas of various theme park

  attractions.

          23.    Padgett gave DeCurtis three months to put together a presentation of the

  “MagicBand” cruise ship experience for Iger and Staggs. DeCurtis did so and his presentation

  was a great success.

          24.    Padgett obtained his requested budget to develop the “MagicBand” prototype.

          25.    Meanwhile, Disney had previously engaged a major global consulting company to

  design and implement a guest engagement system for “Be Our Guest,” a Disney theme park

  restaurant. After approximately two years without sufficient progress, Padgett lost confidence in

  that company’s work. Padgett asked DeCurtis to start from scratch and design a new system

  within a time frame of only eight months. DeCurtis agreed to do so on the condition that he

  would have control over the project.

          26.    In that short time frame, DeCurtis LLC designed and built a guest engagement

  system for Disney’s “Be Our Guest” restaurant. The system made use of guest devices having

  guest identifiers, wireless communication capability, a network of sensors, a communication

  network connecting the sensors, a central server, and vending terminals configured to authorize a

  payment based on a guest device using encrypted bi-directional communications to selectively

  authorize payment based on the identity of the guest device. “Be Our Guest” went on to win the

  “Technology of the Year” award from the American Restaurant Association in 2012.

          27.    In or around 2013, Padgett left Disney and became an executive at Carnival

  Corporation.



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         28.    At the time, Carnival Cruise Lines was already a client of DeCurtis LLC, which

  was working on a project to rebuild Carnival’s gangway boarding process.

         29.    After his arrival, Padgett tasked DeCurtis LLC with designing the systems and

  methods for a guest engagement system for Carnival that came to be called the

  “OceanMedallion” project, and with building the prototypes to demonstrate how the system

  would work once it was built and implemented.

         30.    DeCurtis LLC designed a successful “proof of concept” presentation for

  Carnival’s executives.

         31.    In the meantime, Padgett had hired Michael Jungen to join him at Carnival as a

  vice president of information technology. Padgett and Jungen had worked closely together at

  Disney. Padgett and Jungen are co-inventors on multiple patents and patent applications.

         32.    At some point in 2015, Carnival decided to reject DeCurtis’s concept for a

  platform to execute the guest management system.

         33.    Jungen decided to replace DeCurtis LLC with another company—TE2—in the

  role of chief development architect of the “OceanMedallion” guest engagement system.

         34.    Thereafter, DeCurtis LLC personnel were excluded from conferences, meetings,

  and emails, and DeCurtis LLC’s proposed projects were rejected.

         35.    These circumstances made it impossible for DeCurtis LLC to continue working

  on the guest engagement project for Carnival.

         36.    Thereafter, independent of its relationship with Carnival, DeCurtis LLC

  developed other systems and methods for providing seamless engagement with cruise ship

  facilities through the use of wireless sensing technologies without using any Carnival patented

  technology or any confidential information belonging to Carnival.



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         37.     DeCurtis LLC’s software solution, as made available for customers Virgin and

  NCL, is known as the “DeCurtis Experience Platform” (the “DXP System”). The DXP System is

  an end-to-end, enterprise grade software solution for cruise lines that enables location and

  proximity-based services to assist in operational efficiency, experience enhancement and

  customer engagement. The DXP System covers, among other things, activity and voyage

  reservations, free-flow embarkation and disembarkation modules, e-mustering, food and

  beverage reservations and ordering, table management, way finding, cabin/housekeeping

  notifications, and safety solutions.

         38.     The DXP System makes use of trackable devices that communicate with sensors.

    DeCurtis LLC knew of and made use of these features before working with Carnival on its

    guest engagement platform. In fact, for example, they were part of the guest engagement

    system that DeCurtis LLC created for the Disney “Be Our Guest” restaurant.

         39.     DeCurtis LLC has marketed the DXP System to cruise lines that are competitors

  of Carnival.

         40.     So far, NCL and Virgin have engaged DeCurtis LLC to develop guest

  engagement systems for their respective cruise lines. NCL announced its partnership with

  DeCurtis on May 4, 2018.

         41.     DeCurtis LLC has designed, built, and installed certain aspects of a guest

  engagement system for Virgin, which were tested by Virgin in February 2020 on a cruise of its

  ship Scarlet Lady across the Atlantic Ocean with passengers consisting of Virgin employees,

  family, and friends. The Scarlet Lady is currently scheduled to launch commercially with the

  DXP System in July 2020.

         42.     Carnival’s reaction to the competitive threat from DeCurtis LLC in this market

  has been to engage in anticompetitive acts that have the effect of preserving or increasing

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  Carnival’s monopoly power. These acts include the enforcement of fraudulently-obtained

  patents.

         43.      Beginning in March 2017, Carnival filed applications for a number of patents

  covering systems and methods for providing guests a seamless engagement with cruise ship

  facilities through the use of wireless sensing technologies. The family of patents, which were

  issued in 2018 and 2019, includes:

    (a) U.S Patent No. 10,037,642 (“the ’642 Patent); the ’642 Patent was filed on July 20, 2017

             and issued on July 31, 2018. It purports to be a divisional of U.S. application Ser. No.

             15/460,972 filed Mar. 16, 2017, which is a continuation of U.S. application Ser. No.

             15/459,906 filed Mar. 15, 2017, which in turn claims the benefit of U.S. Provisional

             Applications No. 62/420,998, filed on Nov. 11, 2016, and No. 62/440,938, filed on

             Dec. 30, 2016. A copy of the ’642 Patent is attached hereto as Exhibit A.

    (b) U.S. Patent No. 10,045,184 (“the ’184 Patent”); the ’184 Patent was filed on May 15,

             2017 and issued on August 7, 2018. It purports to claim priority to U.S. Provisional

             Applications No. 62/420,998, filed on Nov. 11, 2016, and No. 62/440,938, filed on

             Dec. 30, 2016. A copy of the ’184 Patent is attached hereto as Exhibit B.

    (c) U.S. Patent No. 10,049,516 (“the ’516 Patent”); the ’516 Patent was filed on March 16,

             2017 and issued on August 14, 2018. It purports to be a continuation of U.S.

             application Ser. No. 15/459,906 filed Mar. 15, 2017, which in turn claims the

             benefit of U.S. Provisional Applications No. 62/420,998, filed on November 11,

             2016, and No. 62/440,938, filed on December 30, 2016. A copy of the ’516 Patent

             is attached hereto as Exhibit C.

    (d) U.S. Patent No. 10,157,514 (“the ’514 Patent”); the ’514 Patent was filed on March 16,

             2017 and issued on December 18, 2018 as a continuation of the application giving rise

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             to the ’184 Patent. The ’514 Patent purports to be a continuation of application Ser. No.

             15/459,906 filed March 15, 2017, which in turn claims the benefit of U.S. Provisional

             Applications No. 62/420,998, filed on November 11, 2016, and No. 62/440,938, filed

             on December 30, 2016. The ’514 Patent issued on December 18, 2018. A copy of the

             ’514 Patent is attached hereto as Exhibit D.

     (e) U.S. Patent No. 10,171,978 (“the ’978 Patent”); the ’978 Patent was filed on July 20,

             2017 and issued on January 1, 2019. It purports to be a divisional of U.S. application

             Ser. No. 15/460,997 filed March 16, 2017, which is a continuation of U.S. application

             Ser. No. 14/459,906 filed March 15, 2017, which in turn claims the benefit of U.S.

             Provisional Applications No. 62/420,998, filed on November 11, 2016, and No.

             62/440,938, filed on December 30, 2016. A copy of the ’978 Patent is attached hereto

             as Exhibit E.

     (f)   U.S. Patent No. 10,304,271 (“the ’271 Patent”); the ’271 Patent was filed on March 16,

             2017 and issued on May 28, 2019. It purports to be a continuation of U.S.

             application Ser. No. 15/459,906 filed March 15, 2017, which in turn claims the

             benefit of U.S. Provisional Applications No. 62/420,998, filed on November 11,

             2016, and No. 62/440,938, filed on December 30, 2016. A copy of the ’271 Patent is

             attached hereto as Exhibit F; and

     (g) U.S. Patent 10,499,228 (“the ’228 Patent”); the ’228 Patent was filed on January 18, 2019

             and issued on December 3, 2019. It purports to be a continuation-in-part of and claims

             the benefit of U.S. patent application Ser. No. 15/460,972, which was filed on March

             16, 2017, which is a continuation of U.S. patent application Ser. No. 15/459,906, which

             was filed on March 15, 2017, now U.S. patent Ser. No. 10/045,184 issued Aug. 7,

             2018, and claimed the benefit of U.S. Provisional Applications No. 62/420,998, filed

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             on November 11, 2016, and No. 62/440,938, filed on December 30, 2016. A copy of

             the ’228 Patent is attached hereto as Exhibit G.

             (collectively, the “Carnival Patents”).

          44.     As Carnival knows, the Carnival Patents are unenforceable because the applicants

   intentionally concealed relevant prior art and failed to identify correctly the inventorship of

   several of the Carnival Patents.

                               Fraudulent Failure To Identify Inventor

          45.     To the extent that the Carnival Patents are based on patentable inventions, they

   are unenforceable for fraudulently failing to name David DeCurtis as an inventor.

          46.     At all relevant times, federal law has required that an application for a patent filed

   with the USPTO “shall include, or be amended to include, the name of the inventor for any

   invention claimed in the application.” 35 U.S.C. § 115(a).

          47.     Where an application does not name the correct inventor(s), and the applicant has

   not filed a request to correct inventorship, USPTO personnel are directed to reject the claims

   under 35 U.S.C. § 101 and 35 U.S.C. § 115. Additionally, at all relevant times, the patent

   regulations have provided that “[e]ach individual associated with the filing and prosecution of a

   patent application has a duty of candor and good faith in dealing with the [USPTO], which

   includes a duty to disclose to the [USPTO] all information known to that individual to be

   material to patentability,” as defined under the regulations. 37 C.F.R. § 1.56(a).

          48.     Under the patent regulations, the duty of candor and good faith applies to

   “individuals associated with the filing or prosecution of a patent application,” including not only

   the inventors and attorneys, but “[e]very other person who is substantively involved in the

   preparation or prosecution of the application and who is associated with the inventor, the

   applicant, an assignee, or anyone to whom there is an obligation to assign the application.” 37

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     C.F.R. § 1.56(c). This duty includes the correct identification of all inventors.

           49.     On the applications for the ’184 Patent, the ’514 Patent, the ’228 Patent, the ’516

   Patent, the ’271 Patent, the ’642 Patent, and the ’978 Patent, Padgett and Jungen, both of them

   Carnival employees at the time, are named as inventors. But these patents omit David DeCurtis

   as an inventor despite his material contributions to the conception of at least one aspect in one or

   more claims in each of these patents. David DeCurtis contributed to the ideas in these patents

   during his work on the Experience Innovation Center (“EIC”) project at Carnival between 2014

   and 2015.

           50.     Before filing the applications for the ’184 Patent, the ’514 Patent, the ’228 Patent

   the ’516 Patent, the ‘978 Patent, the ’271 Patent, and the ’642 Patent, Carnival and its agents

   recognized David DeCurtis as the inventor on a number of the patent ideas included in these

   applications. Upon information and belief, corroborating evidence exists at Carnival

   demonstrating DeCurtis’s role as an inventor.

           51.     For example, DeCurtis did, in fact, conceive of the idea for guest device

   wearables that could be mounted in a variety of accessory form factors. DeCurtis conceived of

   this idea as an improvement to the Disney “MagicBand” concept, which was restricted to a

   single wearable band.

           52.     DeCurtis’s idea was that guests on extended cruise voyages would wear the guest

   devices in a variety of different social situations and that it would be desirable to have the guest

   device easily interface with a number of different wearable accessories (e.g., wristband,

   necklace, lapel pin, etc.).

           53.     DeCurtis first conveyed this idea to Padgett in approximately July 2014 during a

   meeting in Padgett’s office at Carnival. Padgett had wanted to use a version of the MagicBand

   guest device but DeCurtis explained that a plastic wrist device would not work for cruise ship

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   passengers, especially those dressed for dinner in formal wear. DeCurtis proposed using a gold

   coin (like a pirate coin) and explained that the device should fit into a pocket, on a belt, or as part

   of a necklace. Padgett accepted DeCurtis’s idea, which became embodied in the “Ocean Coin”

   concept (later renamed “OceanMedallion”). DeCurtis then worked with Adam Leonards and

   Glenn Curtis to develop DeCurtis’s idea, which existed before Leonards began work on the idea

   or Curtis joined the “OceanMedallion” project.

          54.     DeCurtis’s ideas related to wearable guest devices are now reflected in claim

   elements of at least the ’271 Patent, the ’642 Patent, and at least claim 20 of the ’514 Patent,

   specifically elements relating to the shape, size, and design of portable guest devices and the

   ability of these portable guest devices to interact with accessories.

          55.     Additionally, Carnival and Padgett knew that DeCurtis was among a group of

   inventors for techniques related to unlocking doors using low power BLE technologies.

          56.     David DeCurtis in fact, contributed to the conception of the overall door

   unlocking concept during his work on the Carnival EIC program. This work built upon the BLE-

   door lock concepts that Padgett and his team experimented with at Disney.

          57.     For example, in approximately the summer of 2014, DeCurtis told Padgett that

   guest wearable devices must have both BLE and NFC capabilities to ensure the ability to unlock

   doors even when a BLE battery was exhausted. This idea is now reflected in at least claim 10 of

   the ’514 Patent.

          58.     Moreover, in January and February of 2015, DeCurtis helped to conceive of

   techniques for communicatively coupling door access panels via power efficient networks to a

   centralized reservation and logging system. These ideas are reflected in at least the claims of the

   ’184 Patent and the ’228 Patent.

          59.     Also in January and February 2015, DeCurtis helped to conceive of techniques for

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   efficiently leveraging BLE communications in both a low-power beacon state, as well as a more

   power-intensive bi-directional state. These ideas are reflected in at least the claim 11 of the ’184

   Patent and claim 1 of the ’978 Patent.

          60.     Finally, in early 2015 DeCurtis conceived and communicated to others on the EIC

   project the idea for using capacitive touch door handles that would only trigger the latch upon a

   user touching the door handle to improve safety. Carnival and its agents recognized DeCurtis’s

   sole conception of this idea. This idea is now reflected in at least the claims of the ’516 Patent.

          61.     Based on standard practices and procedures at the USPTO, Padgett and Jungen

   would have had to disclose the inventors on each of the inventions for which they sought patents.

   The Carnival Patents do not identify David DeCurtis as an inventor.

          62.     To this date, none of the ’184 Patent, the ’514 Patent, the ’228 Patent, the ’516

   Patent, the ’271 Patent, the ’642 Patent, or the ’978 Patent have been amended to include David

   DeCurtis as an inventor.

          63.     More than half of the persons named as inventors on the Carnival Patents,

   including Padgett and Jungen, were familiar with the filing requirements of the USPTO from

   filing other, unrelated patents. Several of the named inventors on the Carnival Patents have

   applied for more than 10 patents. Among the most frequent fliers were Padgett, Jungen, and

   Leonards.

          64.     Despite a duty to disclose it, Padgett and Jungen each knowingly and intentionally

   concealed from the USPTO that David DeCurtis was an inventor on many of the patent ideas

   presented as purported inventions claimed in the applications for the Carnival Patents.

          65.     The failure to identify DeCurtis as an inventor was not inadvertent; it was

   repeated over the course of multiple patent applications filed at different times over a period of

   three years.

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          66.     As Carnival, Padgett, and Jungen knew, had David DeCurtis been named as an

   inventor on the Carnival Patents, DeCurtis would have been under an obligation to explain to the

   USPTO examiner that certain other aspects of the inventions that Carnival was trying to patent,

   including aspects of the invention that is the subject of the ’184 Patent, were taught and/or

   suggested by prior art Disney systems discussed below. For example, although the applications

   for the Carnival Patents disclosed some of the patents and patent applications for Disney’s

   existing “Be Our Guest” guest engagement system, the applications do not disclose the full

   extent of the “Be Our Guest” system that was already in use and otherwise available to the public

   and extensively described in multiple published articles.

          67.     Padgett knew that the patent applications for Disney’s existing “Be Our Guest”

   guest engagement system did not disclose the full extent of the system that was already in use.

   David DeCurtis had raised this fact with Padgett at the time the Disney application was filed.

   Padgett responded that he did not care and that DeCurtis should not worry about it.

          68.     Carnival, Padgett, and Jungen knew that these prior art systems and publications

   relating to those systems would materially affect the prosecution of certain aspects of the

   Carnival Patents. They therefore intentionally concealed DeCurtis’s involvement in other aspects

   by misrepresenting the inventorship of the Carnival Patents.

          69.     Upon information and belief, other employees and representatives of Carnival

   who were associated with the filing or prosecution of the patent family were also (1) then aware

   that David DeCurtis was an inventor of many of the patent ideas asserted as claims in the family

   of Carnival Patents, (2) had a duty to disclose David DeCurtis’s involvement with these ideas,

   and (3) intentionally concealed this fact from the USPTO.

          70.     The USPTO would not have issued the ’184 Patent, the ’514 Patent, the ’228

   Patent, the ’516 Patent, the ’271 Patent, the ’642 Patent, or the ’978 Patent if it had known that

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   the applicants had misrepresented inventorship by failing to disclose the true origin of these

   purported inventions.

             71. Each of the Carnival Patents share substantially similar, and in many cases

     identical, specifications. The inventions disclosed in the Carnival Patents are all directed to

     guest engagement systems, and they all stem from related developmental work on the EIC

     system. Carnival and its agents omitted David DeCurtis from each of the Carnival Patents

     with the similar motive of avoiding the possibility that DeCurtis would identify certain

     material prior art that would impact the prosecution of the entire Carnival Patent family.

     As such, the fraudulent omission of David DeCurtis on any one of the Carnival Patents

     infects each of the other patents, rendering each omission an independent basis for finding

     all of the patents unenforceable.

                                Fraudulent Concealment Of Prior Art

          72.     The Carnival Patents were fraudulently obtained, and Carnival therefore knows

   that they are unenforceable, because the purported inventors, patent attorneys, and others

   associated with their filing and prosecution knowingly failed to disclose to the USPTO material

   prior art that would have otherwise prevented the Carnival Patents from issuing.

          73.     As inventors of the Carnival Patents, which were filed before the USPTO, at least

   Padgett and Jungen would have been familiar with the duty of disclosure. At least Padgett and

   Jungen breached this duty of disclosure by intentionally failing to disclose material prior art.

          74.     For example, the Disney “Be Our Guest” system was in public use in the United

   States as early as 2012—more than one-year before the earliest purported priority date of any of

   the Carnival Patents. Any person skilled in the art of designing guest engagement systems would

   understand the technology, systems, and methods involved in the “Be Our Guest” guest

   engagement system. As known to Carnival and its agents, the “Be Our Guest” systems was
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   therefore in “public use” and “available to the public,” qualifying it as prior art under AIA 35

   U.S.C. § 102(a)(1).

          75.     Additionally, publicly available information from this time makes clear that

   relevant implementation details of the technology powering Disney’s systems, including the “Be

   Our Guest” system were known to the public and, thus, were prior art. For example, a May 31,

   2013 article in the MIT Technology Review describes the Disney MagicBand as “an electronic

   wristband” that “uses Bluetooth and contactless NFC technology.” The article describes how the

   MagicBand “replaces a person’s ticket and can be used to tag into rides and other attractions at

   the park. It can also be used to open a guest’s hotel door, and to pay in stores at the resort. In the

   future, the Bluetooth link will make it possible for you to wander up to an attraction or Disney

   character and greeted using your first name.”

          76.     With respect to the Carnival Patents identified above, the duty of disclosure

   required the disclosure of information sufficient to inform the USPTO regarding the full extent

   of the “Be Our Guest” system as well as other similar systems that were available, including the

   Child Detection Agency (“CDA”) system available on Disney Cruise Lines. Although certain

   patents and patent applications related to these systems were disclosed to the USPTO in

   connection with the prosecution of the Carnival Patents, these patents and patent applications

   failed to disclose the full extent of the prior art systems and the available publications relating to

   those systems, and therefore failed to satisfy the duty of disclosure.

          77.     Carnival employees and agents involved in the prosecution of the Carnival Patents

   understood that the implementation details of the prior art Disney systems were material to the

   prosecution of the Carnival Patents. For example, in a Travel Weekly interview published on

   November 23, 2014, Padgett made the following comments regarding the significance of

   relevant features of the Disney MagicBand system that he had previously worked on:

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             Obviously the MagicBand would be the most central, unifying element that
             holistically reinvented the Disney World experience. It was all created with
             the mindset of what was good for the guest. What you see with the
             MagicBand [is] access to the room, access to the park, access to Fast Pass,
             access to payments. But it’s not just that you do those things, but it’s that you
             do them in a way that’s more personalized, more customized, more seamless
             and more hassle-free than has ever been created before. That’s the best
             example in the industry by far.

          78.     Despite appreciating the significance of these features within the prior art Disney

   systems, neither Padgett nor others involved in the prosecution of the Carnival Patents disclosed

   information sufficient to allow the patent examiner to appreciate them to the fullest extent.

          79.     Had the USPTO examiner been made aware of the full extent of the Disney “Be

   Our Guest” or “CDA” guest engagement system prior art, the USPTO examiner would not have

   issued several of the Carnival Patents, including at least the ’184 Patent.

          80.     For example, the USPTO examiner originally rejected independent claim 1 of the

   ’184 Patent because of prior art, most notably the “Lang patent.” The Carnival applicants

   (Padgett, et al.) asserted that Lang taught a device emitting a beacon signal with the device being

   mounted on a doorjamb. The applicants amended claim 1 to refer to guests devices that were

   portable and were to be carried by the users of the guest engagement system. The applicants

   argued that the prior art did not teach “the claimed system in which ‘sensors each mounted at a

   different know [sic] location’ are ‘operative to detect the periodic beacon signals […] emitted

   […] by guests devices’ where the guest devices are portable and carried by users.” However, the

   amended claim that the applicants asserted as valid against the prior art cited by the USPTO

   examiner is precisely the invention embodied in the Disney “Be Our Guest” restaurant. “Be Our

   Guest” opened to the public in 2012. A person having ordinary skills in the art would have been

   able to identify this aspect of the invention simply by experiencing the restaurant.

          81.     Upon information and belief (that information including the patent prosecution

   history), Padgett, Jungen, and other Carnival employees and representatives knew that the
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   USPTO examiner would not have issued several of the Carnival Patents, including the ’184

   Patent, if the USPTO examiner had been made aware of the full extent of the Disney “Be Our

   Guest” and/or “CDA” guest engagement system prior art.

           82.      Padgett and Jungen had a specific intent to deceive the USPTO by withholding

   disclosure of the full extent of the Disney “Be Our Guest” and “CDA” guest engagement system

   prior art.

           83.      Upon information and belief, other Carnival employees and representatives who

   were associated with the filing or prosecution of the Carnival guest engagement system patents,

   including the ’184 Patent, had a specific intent to deceive the USPTO by withholding disclosure

   of the full extent of the Disney “Be Our Guest” and “CDA” guest engagement system prior art.

           84.      Another example of Carnival’s failure to disclose to the USPTO material prior art

   that would have otherwise prevented the Carnival Patents from issuing is Assa Abloy’s “Allure”

   electronic lock system, including Assa Abloy’s networking and Access Management Systems for

   allowing the “Allure” electronic door lock system to interact with a back-end reservation server.

   The “Allure” electronic lock system was in public use in the United States as early as 2013. Any

   person skilled in the art of designing electronic locks would understand the technology, systems,

   and methods involved in Assa Abloy’s “Allure” electronic lock systems. As known to Carnival

   and its agents, Assa Abloy’s “Allure” electronic locks were therefore in “public use” and

   “available to the public,” qualifying it as prior art under AIA 35 U.S.C. § 102(a)(1).

                85. Publicly available information from this time makes clear that relevant

   implementation details of the technology powering Assa Abloy’s “Allure” electronic lock

   system were known to the public and, thus, were prior art.           For example, an article in

   Locksmith Ledger International from June 24, 2013 describing the launch of the “Allure”

   electronic lock system stated that it included “[a]n attractive exterior panel, easily installed on
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   the wall next to the door” that “eliminate[s]” the need for any “external hardware on the door”

   and “adds a host of additional benefits and functionality to the locking system.”_

             86. With respect to the Carnival Patents, the duty of disclosure required the

   disclosure of information sufficient to inform the USPTO regarding the full extent of the Assa

   Abloy “Allure” electronic lock system as well as other similar electronic lock systems that

   were available from Assa Abloy. Notably, Carnival disclosed a number of other publications

   pertaining to publicly available electronic door lock systems, but did not disclose information

   allowing the examiner to appreciate the full extent of the publicly available Assa Abloy

   “Allure” system. Carnival therefore failed to satisfy the duty of disclosure.

          87.     Carnival employees and agents involved in the prosecution of the Carnival Patents

   understood that the implementation details of the prior art Assa Abloy “Allure” electronic lock

   system were material to the prosecution of the Carnival Patents. Documents produced by

   Carnival in this litigation show that Carnival had prior knowledge of Assa Abloy “Allure”

   electronic lock system. See CARNIVAL00000730-741.

          88.     Despite appreciating the significance of Assa Abloy “Allure” electronic lock

   system, neither Padgett nor others involved in the prosecution of the Carnival Patents disclosed

   information sufficient to allow the patent examiner to appreciate this system to its fullest extent.

          89.     Had the USPTO examiner been made aware of the full extent of the Assa Abloy

   “Allure” prior art, the USPTO examiner would not have issued several of the Carnival Patents,

   including at least the ’184, ’514, ’516, and ’978 Patents.

          90.     For example, during prosecution, the USPTO examiner issued a final rejection of

   multiple claims of the ’184 patent, including independent claim 1. In response, The Carnival

   applicants (Padgett, et al.) amended independent claim 1 to incorporate limitations requiring that

   the “plurality of sensors of the sensor network comprises a plurality of access panels,” wherein
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   “each access panel comprises: a radio configured for wireless communication with a door lock

   communication module electrically connected to an electronically controlled locking mechanism

   of the associated electronically controlled door lock . . . .” Based on these amendments, and the

   representation of the Carnival applicants that these limitations distinguished the claims from the

   prior art of record, the examiner allowed claim 1 and similar claims. Later, Carnival included

   similar limitations in its other patent filings, including the ’516 patent (e.g., claim 13, requiring

   an “access panel separate from and fixedly mounted proximate to the door lock communication

   module”) and the ’978 patent (e.g., claim 1, requiring “[a]n access panel . . . comprising: a radio

   configured for wireless communication with a door lock communication module . . . .”).

          91.     However, this purported point of novelty of the Carnival patents (separately

   mounted access panels with a “radio” for wireless communication with a door lock

   communication module) is exactly the key feature of the undisclosed Assa Abloy Allure system

   that Carnival was sourcing for its OceanMedallion system as early as March 2016. Carnival’s

   Patent Rule contentions in this case take the position that its OceanMedallion system practices at

   least claim 1 of the ’184 patent and claim 13 of the ’516 patent.

          92.     Upon information and belief, Carnival was also aware of, and specifically

   intended to withhold from the examiner, features of the Assa Abloy system that read directly on

   other material elements of claim 11 of the ’514 patent (requiring, e.g., the establishment of

   “secure communication links . . . using BLE communications” with the use of a “private

   identifier” that is transmitted “only across secure communication links”), and claim 13 of the

   ’516 patent (requiring, e.g., “wherein the access panel separate from and fixedly mounted

   proximate to the door lock communication module is configured to receive door access

   information from the reservation server via the second transceiver . . . .”).

          93.     Upon information and belief (that information including the patent prosecution

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   history), Padgett, Jungen, and other Carnival employees and representatives knew that the

   USPTO examiner would not have issued several of the Carnival Patents, including the ’184,

   ‘516, and ‘978 Patents, if the USPTO examiner had been made aware of the full extent of the

   Assa Abloy “Allure” electronic lock system prior art.

          94.     Padgett and Jungen had a specific intent to deceive the USPTO by withholding

   disclosure of the full extent of the Assa Abloy “Allure” electronic lock system prior art.

          95.     Upon information and belief, other Carnival employees and representatives who

   were associated with the filing or prosecution of the Carnival guest engagement system patents,

   including the ’184, ’514, ’516, and ’978 Patents, had a specific intent to deceive the USPTO by

   withholding disclosure of the full extent of the Assa Abloy “Allure” electronic lock system prior

   art.

          96.     Padgett, Jungen, and, upon information and belief, other Carnival employees and

   representatives, fraudulently procured the Carnival Patents knowing that DeCurtis LLC and its

   customers would be forced to engage in the expensive and time-consuming process of designing

   alternatives to the fraudulently-obtained and otherwise unenforceable patents to avoid the

   expense and risk of patent infringement litigation.

                          Objectively Baseless Allegations of Infringement

          97.     The implementation of DeCurtis’s DXP system on Virgin and NCL cruise ships is

   also not infringing as a matter of law, rendering Carnival’s allegations of infringement and

   litigation tactics objectively baseless. The U.S. patent law expressly excepts from liability

   inventions that only temporarily come within U.S. borders while aboard a foreign vessel, such as

   a cruise ship. 35 U.S.C. § 272. Carnival is well aware of this and in other litigation has invoked

   the statute to defend itself against claims of patent infringement brought against its ships. See,

   e.g., Advanced Media Networks v. Harris Caprock Communications, Case No. 8:15-cv-00408-

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   MSS-AAS, ECF No. 57, Defendants’ Answer to Third Amended Complaint, p. 12 (“Twelfth

   Defense: Pursuant to 35 U.S.C. § 272, any alleged use in any vessel of the Maritime Defendants

   does not constitute infringement of the patents-in-suit.”).

          98.     Specifically, 35 U.S.C. § 272 states:

          The use of any invention in any vessel, aircraft or vehicle of any country
          which affords similar privileges to vessels, aircraft or vehicles of the United
          States, entering the United States temporarily or accidentally, shall not
          constitute infringement of any patent, if the invention is used exclusively for
          the needs of the vessel, aircraft or vehicle and is not offered for sale or sold in
          or used for the manufacture of anything to be sold in or exported from the
          United States.

          99.     The Virgin and NCL ships on which DXP systems are installed enter the United

   States for a period of time of finite duration for the sole purpose of engaging in international

   commerce. On information and belief, the Virgin Voyages and NCL ships on which the DXP

   system has been implemented are registered in the Bahamas, and each one docks in the U.S.

   temporarily for the purpose of picking up or dropping off customers participating in international

   cruises.   In fact, the Jones Act prohibits ships of non-U.S registry from embarking and

   disembarking guests at two different U.S ports, and thus as a matter of U.S. law the cruises ships

   on which the DXP system has been implemented enter the United States only pursuant to

   transporting passengers in international commerce.

          100.    The DXP system is also used exclusively for the needs of the Virgin Voyages and

   NCL ships on which it is installed. As an enterprise software solution, the DXP systems

   implemented on the Virgin and NCL ships are integral to the operation and efficacy of the

   embarkation and disembarkation process, e-mustering, way finding, various hospitality systems,

   and the safety procedures and protocols that protect the ship’s crew and passengers.

          101.    The DXP systems that Carnival has accused of infringement are not offered for

   sale or sold in or use for the manufacture of anything to be sold in or exported from the United

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   States. They have been sold only to be used on Virgin Voyages and NCL ships that registered in

   the Bahamas.

          102.    Upon information and belief, Carnival and its agents are aware of 35 U.S.C. § 272

   and its exception for liability for systems such as the DXP System. Despite this knowledge,

   Carnival and its agents leveled unfounded threats of patent infringement to DeCurtis and its

   customers, and have initiated an objectively baseless lawsuit on the basis of activity that cannot,

   as a matter of law, infringe.

                                    Interference With Customers

          103.    In or around 2017, DeCurtis LLC entered into a contractual and business

   relationship with NCL, which operates Norwegian Cruise Lines, to license the DXP to NCL.

          104.    In or around 2017, DeCurtis LLC entered into a contractual and business

   relationship with Virgin to license the DXP to Virgin.

          105.    Carnival learned of DeCurtis LLC’s contractual and business relationships with

   NCL and Virgin to design, engineer, and sell guest engagement systems.

          106.    Perceiving DeCurtis LLC as a competitive threat, Carnival engaged in a campaign

   to interfere with DeCurtis LLC’s contractual and business relationships.

          107.    On or around January 29, 2020, Carnival caused its lawyer to send a letter to

   NCL’s general counsel. In that letter, Carnival’s counsel referenced NCL’s intent to develop a

   technology platform with DeCurtis LLC and suggested that platform might infringe what counsel

   called Carnival’s “robust and growing patent portfolio,” and referenced, among other things, the

   ’271 Patent, the ’978 Patent, the ’516 Patent, the ’514 Patent, the ’642 Patent, the ’184 Patent,

   and the ’228 Patent. Carnival’s lawyer closed the letter by requesting that NCL notify Carnival

   of “potential infringement of any Carnival patent and/or unauthorized use of other Carnival

   intellectual property related to wearable devices.”

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             108.   Carnival’s counsel referenced the Carnival Patents even though Carnival

   employees (including Padgett and Jungen) knew at the time that the Carnival Patents did not

   identify the correct inventors, were procured by fraud, and were unenforceable.

             109.   Then, in February 2020, Carnival’s chief executive officer, Arnold Donald,

   contacted NCL’s chief executive officer and asked his counterpart questions about DeCurtis’s

   platform, the DXP System, and discussed the supposed infringement of Carnival’s patents.

             110.   Donald referenced the Carnival Patents even though Carnival employees

   (including Padgett and Jungen) knew at the time that the Carnival Patents did not identify the

   correct inventors, were procured by fraud, and were unenforceable.

             111.   Following the call, NCL put on hold any work by DeCurtis LLC on Guest

   Engagement Systems and told DeCurtis LLC it would not pay amounts owed under the contract.

             112.   On or around February 4, 2020, Carnival caused its lawyer to send a letter to

   Virgin’s Vice President Legal. In the letter, Carnival’s lawyer again referenced Carnival’s

   “robust and growing” patent portfolio and identified among other things, the ’271 Patent, the

   ’978 Patent, the ’516 Patent, the ’514 Patent, the ’642 Patent, the ’184 Patent, and the ’228

   Patent.

             113.   Carnival also caused its lawyer to send DeCurtis a January 29, 2020 letter

   claiming that the public descriptions of the technology platform that NCL was developing in

   conjunction with DeCurtis “closely track” Carnival’s technology. Carnival identified the

   Carnival Patents and advised of its intent “to vigorously enforce its intellectual property rights.”

             114.   On February 20, 2020, Carnival sent a second letter to DeCurtis, reiterating the

   statements from the first letter and also claiming that “recent events ha[d] heightened the reasons

   for Carnival’s concern” that DeCurtis was infringing on its patents. Specifically, Carnival noted

   that Virgin had announced the launch of the “Band,” and claimed that this technology, too, was

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   similar to its OceanMedallion (which it had, in fact, hired DeCurtis LLC to develop in 2014).

   Carnival said it had “serious concerns” that DeCurtis LLC was not “respect[ing] its intellectual

   property rights.” Carnival promised it would “exercise its rights to prevent and remedy any

   infringement” and warned that the consequences of “willful infringement” are “severe.”

   Carnival’s lawyer further demanded inspection of DeCurtis LLC’s books and records pursuant to

   the services agreement under which DeCurtis helped to develop the OceanMedallion.

          115.    On February 24, 2020, Carnival sent a letter to Virgin’s outside counsel asking

   Virgin to confirm certain information about the “Band” in order to “evaluate whether Virgin’s

   planned launch of ‘the Band’ and related technology may raise issues under Carnival’s patents.”

          116.    Virgin has subsequently informed DeCurtis LLC of Carnival’s communications,

   which has threatened DeCurtis’s relationship with Virgin and otherwise caused DeCurtis

   substantial financial harm.

                                      Sham Threats of Litigation

          117.    The communications described above from Carnival to NCL and Virgin

   amounted to sham threats of litigation.

          118.    The threats were objectively baseless in that no reasonable litigant making such

   threats could realistically expect success on the merits.

          119.    At all relevant times, Carnival employees (including Padgett) knew that the

   patents referenced in these threats were unenforceable under federal law and USPTO regulations

   because of their failure to disclose material prior art and the failure to identify David DeCurtis as

   one of the inventors.

          120.    Moreover, Carnival knew that the use of DeCurtis’s DXP system on Virgin and

   NCL cruise ships could never constitute an act of patent infringement because it falls within the

   scope of 35 U.S.C. § 272.        Carnival’s purpose in making these threats was not to seek

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   government redress or otherwise protect legitimate patent rights. Rather, Carnival intended to

   inhibit competition and adversely affect the business of DeCurtis LLC.

          121.    In addition to making these threats, Carnival has also brought actual sham

   litigation against DeCurtis LLC in the form of a lawsuit filed April 10, 2020 claiming

   infringement of the ’184 Patent, the ’514 Patent, and the ’516 Patent, even though Carnival

   knows that these patents cannot be infringed by the accused use, and were fraudulently obtained.

                                         The Relevant Markets

          122.    A relevant product market is the market for systems and methods for providing

   guests with seamless engagement with the facilities of cruise ships through the use of wireless

   sensing technologies (“Guest Engagement Systems”).

          123.    Because of the characteristics of Guest Engagement Systems, it is unlikely that

   cruise lines as the buyers of such products would switch to purchasing another type of system in

   response to a small, but significant price increase.

          124.    Guest Engagement Systems are uniquely tailored to cruise ships. For example, a

   critical element of a guest engagement system for a cruise ship is an indoor location tracking

   system. Such a system must be designed to handle the location of over 4,000 passengers

   simultaneously engaged in thousands of activities throughout a ship. This would include

   essentially pinpoint locations in an emergency to locate missing passengers when all of the

   passengers must muster at lifeboat stations. Guest engagement systems for theme parks or hotels

   would not need the full capabilities of such systems. Furthermore, unlike a hotel, all of a cruise

   ships’ guests disembark essentially at once and a new group of guests embark equally quickly. A

   hotel or theme park does not routinely have such issues. Cruise ships cross time zones and

   geopolitical boundaries that must be taken into account by the system. In addition, the location

   and proximity features of a cruise ship guest engagement system must be integrated with unique

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   applications on a cruise ship such as the property management systems, the crew management

   systems, and the safety systems.

          125.    Consequently, a cruise line could not simply substitute systems implemented for

   other types of facilities, such as theme parks or hotels. To do so would require expensive and

   time-consuming modifications and additional original programming in order to make a system

   designed for other facilities applicable to cruise ships.

          126.    The relevant geographic market for Guest Engagement Systems is worldwide.

          127.    A second but related relevant product market is the market for cruise ship travel

   with Guest Engagement Systems.

          128.    Given the importance of Guest Engagement Systems on cruise ships, cruise line

   travel without such systems is not competitive with cruise line travel with such systems. On

   information and belief based on statements in Carnival’s website, Carnival, as the largest cruise

   line holding company with 104 ships and more than forty-seven percent of the cruise passengers

   worldwide in 2018, is putting such systems on all of its ships currently in its fleet or as new ships

   are built. NCL, as the third largest cruise line holding company with twenty-four ships and nine

   percent of the passengers, had a contract with DeCurtis to place such systems on all of its ships

   before Carnival interfered. Based on statements in its annual report, MSC Cruise Line, which

   accounts for seven percent of the passengers carried in 2018, appears to be intending to place

   such systems on all new and existing ships.

          129.    It is unlikely that sufficient numbers of consumers would switch to a cruise line

   without Guest Engagement Systems in response to a small, but significant increase in price to

   counteract any attempt at supra-competitive pricing.

          130.    The relevant geographic market for cruise ship travel with Guest Engagement

   Systems is worldwide.

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                                         Anticompetitive Effect

           131.    As a result of Carnival’s conduct, prices for Guest Engagement Systems are

   higher, and output is lower, than otherwise would be the case.

           132.    Furthermore, as a result of Carnival’s conduct, cruise lines with Guest

   Engagement Systems would be able to charge consumers undertaking cruise ship travel higher

   prices than would otherwise be the case.

           133.    As a result of Carnival’s conduct, the public engaging in cruise line travel that

   wanted a cruise experience with a Guest Engagement System would have fewer choices.

           134.    In addition, as a result of Carnival’s anticompetitive acts, DeCurtis LLC has been

   injured in its business.

                                     Carnival’s Monopoly Power
                              In The Guest Engagement Systems Market

           135.    Carnival has monopoly power in the relevant market for Guest Engagement

   Systems.

           136.    On information and belief (based on an Internet search), currently only three

   entities offer such Guest Engagement Systems: Carnival, DeCurtis LLC, and a collaboration

   between Aruba and Favendo.

           137.    If DeCurtis LLC were eliminated as a competitor through fraudulent patent

   infringement litigation or threats of such litigation, Carnival would have over 87 percent of the

   market based on the number of cruise ships that are (a) either outfitted with Guest Engagement

   Systems or (b) likely to be so outfitted in fleets that have some ships already offering such

   systems. (Because existing cruise ships are out of service only 12 – 14 days every three years, an

   entire cruise line fleet cannot be retrofitted with a Guest Engagement System immediately but

   only over a period of time).

           138.    Barriers to entry exist for the creation, design, engineering, manufacture, and sale
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   of Guest Engagement Systems. These barriers include the necessity of high capital outlays, and

   significant investment in research and development to design alternatives to Carnival’s patents,

   as well as distribution and marketing expenses to overcome the preferences of cruise line

   customers for a dominant incumbent.

          139.     Furthermore, entrants into this market must enter with both the hardware and

   software capabilities of Guest Engagement Systems for cruise lines to effectively compete.

   Those firms with hardware capabilities in other industries or for other facilities that are most

   likely new entrants, particularly in sensing technology, do not have the appropriate software

   capabilities to design and implement systems for cruise ships with that sensing technology. It

   would take at least five years for such firms to develop such capabilities.

          140.     Carnival has created additional barriers to entry by threatening other cruise lines

   that it will file infringement actions against cruise ship companies seeking to use DeCurtis LLC’s

   systems and methods. In the face of such litigation threats, a potential new entrant or its cruise

   line customers may decide that the cost of protracted litigation is too great to risk entry.

                      Carnival Has A Dangerous Probability of Monopolizing
                 The Market for Cruise Ship Travel With Guest Engagement Systems

          141.     Carnival has a dangerous probability of obtaining monopoly power in the relevant

   market for cruise ship travel with Guest Engagement Systems.

          142.     The number of major independent cruise lines is very concentrated, with just three

   cruise line holding companies making up the vast bulk of cruise lines measured by the number of

   ships in service, passengers carried, and revenue. These are Carnival, NCL, and Royal Caribbean

   Cruise Lines. Together, these three cruise line holding companies account for more than fifty-

   four percent of the cruise ships worldwide, seventy-nine percent of the passengers carried, and

   seventy-two percent of the revenues.

          143.     Carnival, with its nine cruise line brands, accounts for more than thirty-three
                                                     30
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   percent of all cruise line ships in service.

           144.    Were Carnival to be successful in blocking, for example, NCL from obtaining

   access to Guest Engagement Systems, Carnival would have in excess of eighty-four percent of

   the cruise ships currently outfitted with Guest Engagement Systems or cruise ships likely to be so

   outfitted in fleets that already offer such systems.

           145.    It is highly likely that Carnival has also threatened Royal Caribbean Cruise Lines

   with patent infringement litigation or that Royal Caribbean is aware of Carnival’s threats to NCL

   and Virgin. In either case, Royal Caribbean may decide that it would be too risky to use DeCurtis

   LLC’s Guest Engagement System.

           146.    This enhances the risk that Carnival’s cruise ships would be dominant in cruise

   ship travel with Guest Engagement Systems.

                                           Interstate Commerce

           147.    Carnival’s conduct in restraint of trade was in interstate commerce. Upon

   information and belief, Carnival used the U.S. Mail and the Internet to intentionally defraud the

   USPTO.

           148.    Moreover, as a result of Carnival’s conduct, the price of Guest Engagement

   Systems sold in interstate commerce is likely to be higher than it would have been but for

   Carnival’s conduct.

                                          Declaratory Judgment

           149.    Since Carnival has begun issuing threats of litigation and claiming that the DXP

   System and services infringe on Carnival’s patents, NCL has suspended work and payments to

   DeCurtis. Additionally, DeCurtis has had to indemnify Virgin against claims of infringement.

   Carnival’s unfounded accusations of infringement are causing concrete and immediate injury to

   DeCurtis’s business by casting a cloud of suspicion over the technology and services that are

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   core to its business. DeCurtis seeks a declaratory judgment that its DXP System does not infringe

   certain Carnival patents in order to protect its business from Carnival’s unwarranted interference.

   Furthermore, DeCurtis seeks a declaratory judgment that the Carnival Patents are unenforceable.

                                       Causation And Damages

          150.    As a direct and proximate result of Carnival’s conduct, DeCurtis LLC has been

   injured.

          151.    But for Carnival’s conduct, DeCurtis LLC would have been able to compete more

   effectively.

          152.    DeCurtis LLC has or will suffer damages because of Carnival’s conduct.


                                               COUNT I
                               Declaratory Judgment –Unenforceability

          153.    DeCurtis LLC restates and incorporates by reference the allegations in paragraphs

   1 through 121, and paragraph 149, as if fully set forth herein.

          154.    Carnival and its agents withheld material prior art from the USPTO during the

   filing and prosecution of the Carnival Patents.

          155.    Had Carnival and its agents not withheld material prior art from the USPTO, the

   Carnival Patents would not have issued.

          156.    Accordingly, the Carnival Patents are unenforceable.


          157.    Alternatively, the Carnival Patents are unenforceable because David DeCurtis is

   not named as an inventor.

          158.    A substantial, immediate, and real controversy exists between DeCurtis and

   Carnival regarding whether the Carnival Patents are unenforceable. A judicial declaration is

   necessary to determine the parties’ respective rights regarding the unenforceability of the


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   Carnival Patents.

          159.      DeCurtis seeks a judgment declaring that the Carnival Patents are unenforceable.


                                                COUNT II
                                            Monopolization
                             In Violation Of Section 2 Of The Sherman Act

          160.      DeCurtis LLC restates and incorporates by reference paragraphs 1 through 152 as

   though fully set forth herein.

          161.      Carnival has a monopoly and monopoly power in the market for Guest

   Engagement Systems.

          162.      Carnival has engaged in anticompetitive acts in furtherance of its specific intent to

   acquire and maintain that monopoly power. These acts include communications from Carnival to

   customers of DeCurtis LLC (who are also Carnival’s competitors) insinuating that DeCurtis LLC

   has infringed or is infringing Carnival’s patents. Carnival intended such communications to be

   understood as thinly veiled threats that Carnival will bring patent infringement litigation against

   DeCurtis’s customers, and in fact those communications were so understood by their recipients.

   In addition to these threats, Carnival has also sued DeCurtis LLC for patent infringement.

   Carnival undertook these acts even though it knows that its patents are unenforceable and not

   infringed as a matter of law.

          163.      Carnival undertook these acts even though it knows that its patents are

   unenforceable.

          164.      Carnival has undertaken these acts with the intent to interfere with DeCurtis

   LLC’s business and to threaten other competitors and customers with litigation.

          165.      By reason of Carnival’s conduct, DeCurtis LLC has been injured in its business.

          166.      Unless the injunctive relief requested below is granted, irreparable injury will


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   occur, and will continue to occur, to DeCurtis LLC.

                                              COUNT III
                                      Attempted Monopolization
                            In Violation Of Section 2 Of The Sherman Act

          167.    DeCurtis LLC restates and incorporates by reference paragraphs 1 through 152 as

   though fully set forth herein.

          168.    Carnival has a dangerous probability of achieving monopoly power in the markets

   for Guest Engagement Systems and cruise travel with Guest Engagement Systems.

          169.    Carnival has a specific intent to achieve monopoly power in the markets for Guest

   Engagement Systems and cruise travel for Guest Engagement Systems.

          170.    Carnival has engaged in anticompetitive acts in furtherance of its specific intent to

   acquire monopoly power. These acts include communications from Carnival to customers of

   DeCurtis LLC (who are also Carnival’s competitors) insinuating that DeCurtis LLC has

   infringed or is infringing Carnival’s patents. Carnival intended such communications to be

   understood by these customers as thinly veiled threats that Carnival will bring patent

   infringement litigation against DeCurtis LLC and DeCurtis LLC’s customers, and in fact those

   communications were so understood by their recipients. In addition to these threats, Carnival has

   also sued DeCurtis LLC for patent infringement. Carnival undertook these acts even though it

   knows that its patents are unenforceable and not infringed as a matter of law.

          171.    Carnival has undertaken these acts with the intent to interfere with DeCurtis

   LLC’s business and to threaten other competitors and customers with litigation.

          172.    By reason of Carnival’s conduct, DeCurtis LLC has been injured in its business.

          173.    Unless the injunctive relief requested below is granted, irreparable injury will

   occur, and will continue to occur, to DeCurtis LLC.



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                                               COUNT IV
                     Tortious Interference With Contract And Business Relationships

          174.      DeCurtis LLC restates and incorporates by reference paragraphs 1 through 121 as

   though fully set forth herein.

          175.      In or around 2017, DeCurtis LLC entered into a business and contractual

   relationship with NCL to license the DXP to NCL.

          176.      In or around 2017, DeCurtis LLC entered into a business and contractual

   relationship with Virgin to license the DXP to Virgin.

          177.      Carnival had knowledge of these business and contractual relationships.


          178.      As described above, Carnival intentionally and unjustifiably interfered in these

   business and contractual relationships by making thinly veiled threats that it would bring patent

   infringement litigation against DeCurtis LLC and DeCurtis LLC’s customers even though

   Carnival knows that its patents are unenforceable and not infringed as a matter of law.

          179.      Carnival’s actions were not taken in good faith and its allegations of infringement

   are objectively baseless.

          180.      As a consequence of Carnival’s actions, NCL has stopped working with DeCurtis

   LLC in violation of its contractual obligations.

          181.      Carnival’s actions have also threatened DeCurtis LLC’s relationship with Virgin

   and otherwise caused DeCurtis LLC substantial financial harm.

          182.      DeCurtis LLC has been (and if not stopped, will be further) damaged by

   Carnival’s intentional and unjustified interference in DeCurtis LLC’s business and contractual

   relationships.




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                                              COUNT V
                             Unfair Competition (Florida Common Law)

          183.    DeCurtis LLC restates and incorporates by reference paragraphs 1 through 121 as

   though fully set forth herein.

          184.    DeCurtis LLC and Carnival are competitors and compete over a common pool of

   customers in the market for Guest Engagement Systems.

          185.    As described above, Carnival intentionally engaged in deceptive and fraudulent

   conduct by making false representations to NCL and Virgin that it had enforceable patents that it

   claimed DeCurtis LLC was infringing when it knew at all relevant times that its patents are

   unenforceable and not infringed as a matter of law.

          186.    As described above, Carnival’s actions resulted in consumer confusion. NCL has

   stopped working with DeCurtis LLC due to the confusion caused by Carnival’s conduct.

   Carnival’s deceptive and fraudulent representations created in NCL the misapprehension that

   DeCurtis LLC had infringed on Carnival’s patents.

          187.    Further, as described above, Carnival’s actions resulted in consumer confusion

   because Carnival’s deceptive and fraudulent representations also created in Virgin the

   misapprehension that DeCurtis LLC was infringing on Carnival’s patents, which has threatened

   DeCurtis LLC’s relationship with Virgin and otherwise caused DeCurtis LLC substantial

   financial harm.

          188.    In addition, upon information and belief, Carnival has engaged in fraudulent and

   deceptive conduct resulting in consumer confusion by communicating, advertising, and/or

   marketing to other customers in the market for Guest Engagement Services that the Carnival

   Patents are enforceable, when it has known at all relevant times that its patents are

   unenforceable. DeCurtis LLC has been damaged as a result of Carnival’s unfair competition.


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                                               COUNT VI
      Declaratory Judgment – Non-Infringement One Or More Claims Of The ’184 Patent

          189.    DeCurtis restates and incorporates by reference the allegations in paragraphs 1

   through 121, and paragraph 149, as if fully set forth herein.

          190.    On information and belief, Carnival claims to own all rights, title, and interest in

   the ’184 Patent.

          191.    The ’184 Patent has four independent claims, claims 1, 7, 11, and 19.

          192.    Claim 1 of the ’184 Patent recites:

             A guest engagement system comprising:

                      a plurality of portable guest devices provided to users of the guest
                      engagement system to be carried by the users, each guest device including a
                      wireless communication antenna and operative to emit a periodic beacon
                      signal broadcasting a unique identifier of the guest device using Bluetooth
                      low energy (BLE) communications;

                      a sensor network comprising a plurality of sensors each mounted at a
                      different known location and operative to detect the periodic beacon signals
                      including the unique identifiers emitted using BLE communications by
                      portable guest devices of the plurality of portable guest devices that are
                      proximate to the sensor;

                      a communication network connecting each of the plurality of sensors of the
                      sensor network; and

                      a central server communicatively connected to each of the plurality of
                      sensors of the sensor network via the communication network, and storing a
                      log associating each unique identifier of a portable guest device detected
                      using BLE communications by a sensor of the sensor network with the
                      known location of the sensor and a timestamp,

                      wherein the plurality of sensors of the sensor network comprises a plurality
                      of access panels each configured to control an associated electronically
                      controlled door lock,

                      each access panel is operative to detect the periodic beacon signals including
                      the unique identifiers emitted using BLE communications by guest devices
                      that are proximate thereto, and to selectively unlock the associated
                      electronically controlled door lock based on the unique identifier of the
                      detected periodic beacons, and
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                  each access panel comprises:

                          a radio configured for wireless communication with a door lock
                          communication module electrically connected to an electronically
                          controlled locking mechanism of the associated electronically
                          controlled door lock;

                          a first transceiver configured for wireless BLE communication with
                          the guest devices to identify users seeking to activate the
                          electronically controlled locking mechanism; and

                          a second transceiver configured for communication with the central
                          server storing identifiers of users authorized to activate the
                          electronically controlled locking mechanism.

         193.   Claim 7 of the ’184 Patent recites:

           A guest engagement system comprising:

                  a plurality of portable guest devices provided to users of the guest
                  engagement system to be carried by the users, each guest device including a
                  wireless communication antenna and operative to emit a periodic beacon
                  signal broadcasting a unique identifier of the guest device using Bluetooth
                  low energy (BLE) communications;

                  a sensor network comprising a plurality of sensors each mounted at a
                  different known location and operative to detect the periodic beacon signals
                  including the unique identifiers emitted using BLE communications by
                  portable guest devices of the plurality of portable guest devices that are
                  proximate to the sensor;

                  a communication network connecting each of the plurality of sensors of the
                  sensor network; a central server communicatively connected to each of the
                  plurality of sensors of the sensor network via the communication network,
                  and storing a log associating each unique identifier of a portable guest device
                  detected using BLE communications by a sensor of the sensor network with
                  the known location of the sensor and a timestamp; and

                  a plurality of interface devices providing personalized services to users of the
                  guest engagement system,

                  wherein the plurality of sensors of the sensor network comprises a plurality
                  of access panels each configured to control an associated electronically
                  controlled door lock,

                  each access panel is operative to detect the periodic beacon signals including
                  the unique identifiers emitted using BLE communications by guest devices
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                  that are proximate thereto, and to selectively unlock the associated
                  electronically controlled door lock based on the unique identifier of the
                  detected periodic beacons, and

                  each interface device comprises an associated sensor of the plurality of
                  sensors of the sensor network, and provides the personalized services to a
                  user proximate thereto based on an identity of the user determined based on
                  the unique identifier emitted using BLE communications by a guest device of
                  the user.

         194.   Claim 11 of the ’184 Patent recites A guest engagement system comprising:

                  a plurality of portable guest devices provided to users of the guest
                  engagement system to be carried by the users, each guest device having a
                  unique identifier and including first and second wireless communication
                  antennas respectively configured for Bluetooth low energy (BLE) and near
                  field communication (NFC) communications;
                  a sensor network comprising a plurality of sensors each mounted at a
                  different location, wherein at least one sensor of the plurality of sensors is
                  operative to detect portable guest devices that are proximate thereto and
                  receive unique identifiers therefrom based on BLE communication with the
                  portable guest devices and at least another sensor of the plurality of sensors is
                  operative to detect portable guest devices that are proximate thereto and
                  receive unique identifiers therefrom based on NFC communication with the
                  portable guest devices;

                  a communication network connecting each of the plurality of sensors of the
                  sensor network; and

                  a central server communicatively connected to each of the plurality of
                  sensors of the sensor network via the communication network, and storing a
                  log associating each unique identifier of a portable guest device received
                  using BLE or NFC communications by a sensor of the sensor network,

                  wherein each guest device is configured to selectively operate according to
                  first and second operating modes, each guest device engaging in bi-
                  directional communication using the first wireless communication antenna
                  configured for BLE communications in the first operating mode and
                  engaging in a beacon mode periodically broadcasting a beacon signal using
                  the first wireless communication antenna configured for BLE
                  communications in the second operating mode, and

                  each sensor of the sensor network is operative to transmit a command to a
                  guest device in its communication range to cause the guest device to change
                  operating mode between the first and second operating modes.

         195.   Claim 19 of the ’184 Patent recites:

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            A guest engagement system comprising:

                    a plurality of portable guest devices provided to users of the guest
                    engagement system to be carried by the users, each guest device having a
                    unique identifier and including first and second wireless communication
                    antennas respectively configured for Bluetooth low energy (BLE) and near
                    field communication (NFC) communications;

                    a sensor network comprising a plurality of sensors each mounted at a
                    different location, wherein at least one sensor of the plurality of sensors is
                    operative to detect portable guest devices that are proximate thereto and
                    receive unique identifiers therefrom based on BLE communication with the
                    portable guest devices and at least another sensor of the plurality of sensors is
                    operative to detect portable guest devices that are proximate thereto and
                    receive unique identifiers therefrom based on NFC communication with the
                    portable guest devices;
                    a communication network connecting each of the plurality of sensors of the
                    sensor network; and

                    a central server communicatively connected to each of the plurality of
                    sensors of the sensor network via the communication network, and storing a
                    log associating each unique identifier of a portable guest device received
                    using BLE or NFC communications by a sensor of the sensor network,

                    wherein the plurality of sensors of the sensor network comprises a plurality
                    of vending terminals each configured authorize a payment based on a guest
                    device, and

                    each vending terminal is operative to engage in encrypted bi-directional
                    communication with a guest device using NFC communications to
                    authenticate the guest device and selectively authorize the payment based on
                    the identity of the authenticated guest device.

          196.   DeCurtis does not directly or indirectly infringe claims 1 and 7 of the ’184 Patent

   by making, using, selling, and/or offering for sale the DXP System, either literally or under the

   doctrine of equivalents, at least because the DXP System does not employ, include, or otherwise

   make use of access panels “operative to detect the periodic beacon signals including the unique

   identifiers emitted using BLE communications by guest devices that are proximate thereto, and

   to selectively unlock the associated electronically controlled door lock based on the unique

   identifier of the detected periodic beacons.” The DXP System does not operate within a system

   having access panels that detect BLE communications for selectively unlocking electronically
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   controlled door locks, but rather operates in a system using different communication protocols

   for unlocking doors.

          197.    In addition, DeCurtis does not directly or indirectly infringe claims 1 or 7 of the

   ’184 Patent by making, using, selling, and/or offering for sale the DXP System, either literally or

   under the doctrine of equivalents, at least because its DXP System does not “stor[e] a log

   associating each unique identifier of a portable guest device detected using BLE communications

   by a sensor of the sensor network with the known location of the sensor and a timestamp.” The

   DXP system does not store the identifier detected by a sensor of the sensor network in a log that

   associates the identifier with the location of the sensor. Instead, the DXP System translates the

   unique identifier detected by a sensor of the sensor network into a different identifier, and uses a

   location engine to triangulate the position of a user.

          198.    In addition, DeCurtis does not directly or indirectly infringe claim 11 of the ’184

   Patent by making, using, selling, and/or offering for sale the DXP System, either literally or

   under the doctrine of equivalents, at least because its DXP System does not employ, include, or

   otherwise make use of “guest device[s] engaging in bi-directional communication using the first

   wireless communication antenna configured for BLE communications in the first operating

   mode” as required by claim 11 of the ’184 Patent. The DXP System does not comprise guest

   devices configured for use in a system having sensors enabling bi-directional BLE

   communications, and the guest devices would require additional configuration to operate in a

   system having such sensors.

          199.    In addition, DeCurtis does not directly or indirectly infringe claim 11 of the ’184

   Patent by making, using, selling, and/or offering for sale the DXP System, either literally or

   under the doctrine of equivalents, at least because its DXP System does not employ, include, or

   otherwise make use of guest devices “configured to selectively operate according to first and

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   second operating modes, each guest device engaging in bi-directional communication using the

   first wireless communication antenna configured for BLE communications in the first operating

   mode and engaging in a beacon mode periodically broadcasting a beacon signal using the first

   wireless communication antenna configured for BLE communications in the second operating

   mode.” The DXP System does not comprise guest devices that are configured for use in a system

   requiring selective operation according to two distinct modes. The DXP System does not

   comprise sensors enabling selective operation according to two distinct modes, and the guest

   devices would require additional configuration to operate in a system having such sensors.

          200.    In addition, DeCurtis does not directly or indirectly infringe claims 11 or 19 of the

   ’184 Patent by making, using, selling, and/or offering for sale the DXP System, either literally or

   under the doctrine of equivalents, at least because its DXP System does not employ, include, or

   otherwise make use of a plurality of guest devices, “each guest device having a unique identifier

   and including first and second wireless communication antennas respectively configured for

   Bluetooth low energy (BLE) and near field communication (NFC) communications.” The DXP

   System does not comprise guest devices having unique identifiers, rather guest devices can have

   multiple identifiers.

          201.    In addition, DeCurtis does not directly or indirectly infringe claims 11 or 19 of the

   ’184 Patent by making, using, selling, and/or offering for sale the DXP System, either literally or

   under the doctrine of equivalents, at least because its DXP System does not comprise (i) “a

   sensor network comprising a plurality of sensors . . . wherein at least one sensor of the plurality

   of sensors is operative to detect portable guest devices that are proximate thereto and receive

   unique identifiers therefrom based on BLE communication . . . and at least another sensor of the

   plurality of sensors is operative to detect portable guest devices that are proximate thereto and

   receive unique identifiers therefore based on NFC communications . . .” ; do not comprise (ii) “a

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   communication network connecting each of the plurality of sensors of the sensor network”; (iii)

   do not comprise “a central server communicatively connected to each of the plurality of sensors

   of the sensor network via the communications network” and (iv) do not “stor[e] a log associating

   each unique identifier of a portable guest device received using BLE or NFC communications by

   a sensor of the sensor network.” The DXP System is not configured to receive BLE and NFC

   communications over a single sensor network communicatively coupled to a central server. The

   DXP System is not configured to receive communications from a sensor network comprising

   NFC sensors communicatively coupled to a central server and capable of storing a log with each

   of the NFC identifiers received from a NFC sensor.

          202.    In addition, DeCurtis does not directly or indirectly infringe claim 19 of the ’184

   Patent by making, using, selling, and/or offering for sale the DXP System, either literally or

   under the doctrine of equivalents, at least because its DXP System does not employ, include, or

   otherwise make use of vending terminals “operative to engage in encrypted bi-directional

   communication with a guest device using NFC communications to authenticate the guest device

   and selectively authorize the payment based on the identity of the authenticated guest device” as

   required by claim 19 of the ’184 Patent. The DXP System does not comprise vending terminals,

   nor does it comprise guest devices that would allow any vending terminal to operate using

   encrypted bi-directional communication using NFC communications, and the DXP System as

   configured to be implemented by Virgin likewise will not operate in such a fashion.

          203.    In addition, DeCurtis does not infringe any claims of the ’184 Patent by making,

   using, selling, and/or offering for sale the DXP System, either literally or under the doctrine of

   equivalents, at least because its DXP System is used only on vessels registered in foreign

   countries that temporarily enter the United States, is used exclusively for the needs of the vessel,

   and is not offered for sale or sold in or used for the manufacture of anything to be sold in or

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   exported from the United States

          204.    A substantial, immediate, and real controversy exists between DeCurtis and

   Carnival regarding whether DeCurtis’s infringes the ’184 Patent by making, using, selling,

   and/or offering for sale DXP and related technologies and systems. A judicial declaration is

   necessary to determine the parties’ respective rights regarding the ’184 Patent.

   205.   DeCurtis seeks a judgment declaring that DeCurtis does not infringe, either literally or

   under the doctrine of equivalents, one or more claims of the ’184 Patent by making, using,

   selling, and/or offering for sale the DXP System, either directly under 35 U.S.C. § 271(a), or

   indirectly under 35 U.S.C. §§ 271(b) and (c).

                                              COUNT VII
      Declaratory Judgment – Non-Infringement One Or More Claims Of The ’514 Patent

          206.    DeCurtis restates and incorporates by reference the allegations in paragraphs 1

   through 121, and paragraph 149, as if fully set forth herein.

          207.    An immediate, real, and justiciable controversy exists between DeCurtis and

   Carnival regarding the use of the ’514 Patent.

          208.    On information and belief, Carnival claims to own all rights, title, and interest in

   the ’514 Patent.

          209.    The ’514 Patent has four independent claims, claims 1, 11, 12, and 20.

          210.    Claim 1 of the ’514 Patent recites:

             A portable wireless device comprising:

                      a body having a fully enclosed cavity, the body having all dimensions equal
                      to or smaller than 2.5 inches, and the body having a thickness equal to or
                      smaller than
                      ⅝ inch;

                      a processor, a memory, a battery, and first and second wireless
                      communication antennas disposed in the cavity,


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                  wherein the first and second wireless communication antennas are
                  respectively configured for Bluetooth low energy (BLE) and near field
                  communication (NFC) communications, the first communication antenna
                  configured for BLE communications has a J-shape that is elevated above a
                  printed circuit board (PCB), the processor disposed in the cavity is
                  configured to engage in bi- directional BLE and NFC communications using
                  the first and second wireless communication antennas disposed in the cavity,
                  and the processor selectively operates according to first and second operating
                  modes having different respective intervals between periodic listen time
                  periods during which the processor periodically listens for communications
                  through the first or second wireless communication antennas.

         211.   Claim 11 of the ’514 Patent recites:

           A portable wireless device comprising:

                  a body having a fully enclosed cavity, the body having all dimensions equal
                  to or smaller than 2.5 inches, and the body having a thickness equal to or
                  smaller than
                  ⅝ inch;

                  a processor, a memory, a battery, and first and second wireless
                  communication antennas disposed in the cavity,

                  wherein the first and second wireless communication antennas are
                  respectively configured for Bluetooth low energy (BLE) and near field
                  communication (NFC) communications,

                  the processor is configured to establish secure communication links with
                  remote communication devices using the first wireless communication
                  antenna configured for BLE communications,

                  the memory stores both public and private identifiers unique to the portable
                  wireless device,

                  the processor controls the first wireless communication antenna to emit a
                  periodic beacon signal broadcasting the unique public identifier of the
                  portable wireless device using BLE communications, and

                  the processor controls the first wireless communication antenna to transmit
                  the private identifier only across secure communication links established with
                  remote communication devices using BLE communications.

         212.   Claim 12 of the ’514 Patent recites:

           A portable wireless device comprising:


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                  a body having a peripheral member having front and rear openings
                  respectively covered by front and rear caps, the peripheral member extending
                  around a periphery of an enclosed cavity disposed within a space formed by
                  the front and rear caps and the peripheral member, and

                  a processor, a memory, a battery, and first and second wireless
                  communication antennas disposed in the cavity, and

                  a printed circuit board (PCB) disposed in the cavity and having the processor
                  and the memory mounted thereon,

                  wherein the first and second wireless communication antennas are
                  respectively configured for Bluetooth low energy (BLE) and near field
                  communication (NFC) communications, and

                  wherein the first communication antenna configured                   for    BLE
                  communications has a J-shape that is elevated above the PCB.

         213.   Claim 20 of the ’514 Patent recites:

           A portable wireless device comprising:

                  a body having a fully enclosed cavity, and

                  a printed circuit board (PCB), a processor, a memory, a battery, and first and
                  second wireless communication antennas disposed in the cavity,

                  wherein the body has a frustum shape, including a front surface that is
                  circular, a rear surface that is circular and has a diameter greater than that of
                  the front surface, and a side surface that extends between the front and rear
                  surfaces and is formed of a metal housing, having at least one gap extending
                  through the metal housing from the front surface to the rear surface, and a
                  non-conducting material disposed in the at least one gap of the metal housing,

                  wherein the front and rear surfaces have diameters of 0.75 to 2.5 inches, the
                  body has a thickness of ⅛ to ⅝ inch, and an angle between the front surface
                  and the side surface of the frustum-shaped body is in a range of 86 to 88
                  degrees,

                  wherein the first and second wireless communication antennas are
                  respectively configured for Bluetooth low energy (BLE) and near field
                  communication (NFC) communications and the processor disposed in the
                  cavity is configured to engage in bi-directional BLE and NFC
                  communications using the first and second wireless communication antennas
                  disposed in the cavity and

                  the first communication antenna configured for BLE communications has a J-
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                    shape that is elevated above a surface of the PCB on which the processor and
                    memory are mounted.

          214.    DeCurtis does not directly or indirectly infringe claims 1, 12, and 20 of the ’514

   Patent by making, using, selling, and/or offering for sale the DXP System, either literally or

   under the doctrine of equivalents, at least because the DXP System does not employ, include, or

   otherwise make use of a portable wireless device comprising a first communication antenna

   wherein the “first communication antenna configured for BLE communications has a J-shape

   that is elevated above a printed circuit board (PCB).” The DXP System does not comprise

   portable wireless devices that have a J-shaped antenna, elevated above a printed circuit board,

   and configured for BLE communications. Rather, the DXP system uses portable wireless devices

   having a meandered trace antenna that is in the shape of a square sine wave.


           ’514 Elevated J-Shaped Antenna                          DXP System Antenna




          215.    DeCurtis does not directly or indirectly infringe claim 11 of the ’514 Patent by

   making, using, selling, and/or offering for sale the DXP System, either literally or under the

   doctrine of equivalents, at least because the DXP System does not employ, include, or otherwise


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   make use of a portable wireless device comprising a processor, wherein “the processor is

   configured to establish secure communication links with remote communication devices using

   the first wireless communication antenna configured for BLE communications.” The DXP

   System is not configured such that the portable electronic devices establish secure

   communication links using a BLE antenna. Rather, the DXP System is configured such that the

   portable electronic devices operate only in unidirectional mode using a BLE antenna.

          216.    DeCurtis does not directly or indirectly infringe claim 11 of the ’514 Patent by

   making, using, selling, and/or offering for sale the DXP System, either literally or under the

   doctrine of equivalents, at least because the DXP System does not employ, include, or otherwise

   make use of a portable wireless device comprising a processor, wherein “the processor controls

   the first wireless communication antenna to emit a periodic beacon signal broadcasting the

   unique public identifier of the portable wireless device using BLE communications, and the

   processor controls the first wireless communication antenna to transmit the private identifier only

   across secure communication links established with remote communication devices using BLE

   communications.” The DXP System does not comprise portable wireless devices that are

   configured to limit the transmission of a private identifier over a secure communication link.

          217.    DeCurtis does not directly or indirectly infringe claim 20 of the ’514 Patent by

   making, using, selling, and/or offering for sale the DXP System, either literally or under the

   doctrine of equivalents, at least because the DXP System does not employ, include, or otherwise

   make use of a portable wireless device, “wherein the body has a frustum shape, including a front

   surface that is circular, a rear surface that is circular and has a diameter greater than that of the

   front surface” or that has “a side surface that extends between the front and rear surfaces and is

   formed of a metal housing.” The DXP System does not comprise portable wireless devices that

   have a frustum shape, a circular front surface, a circular rear surface with diameter greater than

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   that of the front surface, or a metal housing for any surface.


          Carnival Patents:                    DXP System:                      DXP System:
          Portable Wireless               Virgin Portable Wireless          NCL Portable Wireless
         Device and Accessory              Device and Accessory             Device and Accessory




          218.    In addition, DeCurtis does not infringe any claims of the ’514 Patent by making,

   using, selling, and/or offering for sale the DXP System, either literally or under the doctrine of

   equivalents, at least because its DXP System is used only on vessels registered in foreign

   countries that temporarily enter the United States, is used exclusively for the needs of the vessel,

   and is not offered for sale or sold in or used for the manufacture of anything to be sold in or

   exported from the United States

          219.    A substantial, immediate, and real controversy exists between DeCurtis and

   Carnival regarding whether DeCurtis infringes the ’514 Patent by making, using, selling, and/or

   offering for sale DXP and related technologies and systems. A judicial declaration is necessary to

   determine the parties’ respective rights regarding the ’514 Patent.

          220.    DeCurtis seeks a judgment declaring that DeCurtis does not infringe, either

   literally or under the doctrine of equivalents, one or more claims of the ’514 Patent by making,

   using, selling, and/or offering for sale the DXP System, either directly under 35 U.S.C. § 271(a),

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   or indirectly under 35 U.S.C. §§ 271(b) and (c).

                                             COUNT VIII
      Declaratory Judgment – Non-Infringement One Or More Claims Of The ’228 Patent

          221.    DeCurtis restates and incorporates by reference the allegations in paragraphs 1

   through 121, and paragraph 149, as if fully set forth herein.

          222.    On information and belief, Carnival claims to own all rights, title, and interest in

   the ’228 Patent.

          223.    The ’228 Patent has two independent claims, claims 1 and 13.

          224.    Claim 1 of the ’228 Patent recites:

                      A guest engagement system comprising:

                            a plurality of guest devices provided to users of the guest engagement
                            system, each guest device including a wireless communication
                            antenna and operative to emit a periodic beacon signal broadcasting a
                            unique identifier of the guest device using Bluetooth low energy
                            (BLE) communications;

                            a sensor network comprising a plurality of sensors each mounted at a
                            different known location and operative to detect the periodic beacon
                            signals including the unique identifiers emitted using BLE
                            communications by guest devices of the plurality of guest devices that
                            are proximate to the sensor;

                            a communication network connecting each of the plurality of sensors
                            of the sensor network;

                            a relational database in operable communication with the
                            communication network, the relational database associating each user
                            with their respective unique identifier and a gameplay status
                            identifier;

                            one or more interactive displays, each in operable communication
                            with the sensor network via the communication network and
                            configured to present one or more interactive gaming options to the
                            users of the guest engagement system based on the detected periodic
                            beacon signal and the gameplay status identifier; and

                            a central server communicatively connected to each of the plurality of
                            sensors of the sensor network via the communication network, and
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                           storing a log associating each unique identifier of a guest device
                           detected using BLE communications by a sensor of the sensor
                           network with the known location of the sensor and a timestamp in the
                           relational database.

          225.   Claim 13 of the ’228 Patent recites:

                    A guest engagement system comprising:
                           a plurality of guest devices provided to users of the guest engagement
                           system, each guest device having a unique identifier and including
                           first and second wireless communication antennas respectively
                           configured for Bluetooth low energy (BLE) and near field
                           communication (NFC) communications;

                           a sensor network comprising a plurality of sensors each mounted at a
                           different location, wherein at least one sensor of the plurality of
                           sensors is operative to detect guest devices that are proximate thereto
                           and receive unique identifiers therefrom based on BLE
                           communication with the guest devices and at least another sensor of
                           the plurality of sensors is operative to detect guest devices that are
                           proximate thereto and receive unique identifiers therefrom based on
                           NFC communication with the guest devices;
                           a communication network connecting each of the plurality of sensors
                           of the sensor network;

                           a relational database in operable communication with the
                           communication network, the relational database associating each user
                           with their respective unique identifier and a gameplay status
                           identifier;

                           one or more interactive displays, each in operable communication
                           with the sensor network via the communication network and
                           configured to present one or more interactive gaming options to the
                           users of the guest engagement system based on a detected periodic
                           beacon signal and the gameplay status identifier; and

                           a central server communicatively connected to each of the plurality of
                           sensors of the sensor network via the communication network, and
                           storing a log associating each unique identifier of a guest device
                           received using BLE or NFC communications by a sensor of the
                           sensor network in the relational database.

          226.   DeCurtis does not directly or indirectly infringe claim 1 of the ’228 Patent by

   making, using, selling, and/or offering for sale the DXP System, either literally or under the

   doctrine of equivalents, at least because the DXP System does not “stor[e] a log associating each
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   unique identifier of a portable guest device detected using BLE communications by a sensor of

   the sensor network with the known location of the sensor and a timestamp.” The DXP system

   does not store the identifier detected by a sensor of the sensor network in a log that associates the

   identifier with the location of the sensor. Instead, the DXP System translates the unique identifier

   detected by a sensor of the sensor network into a different identifier, and uses a location engine

   to triangulate the position of a user.

           227.    DeCurtis does not directly or indirectly infringe claim 13 of the ’228 Patent by

   making, using, selling, and/or offering for sale the DXP System, either literally or under the

   doctrine of equivalents, at least because the DXP System does not “stor[e] a log associating each

   unique identifier of a guest device received using BLE or NFC communications by a sensor of

   the sensor network in the relational database.” The DXP System is not configured to receive

   BLE and NFC communications over a single sensor network communicatively coupled to a

   central server. The DXP System is not configured to receive communications from a sensor

   network comprising NFC sensors communicatively coupled to a central server and capable of

   storing a log with each of the NFC identifiers received from a NFC sensor.

           228.    In addition, DeCurtis does not infringe any claims of the ’228 Patent by making,

   using, selling, and/or offering for sale the DXP System, either literally or under the doctrine of

   equivalents, at least because its DXP System is used only on vessels registered in foreign

   countries that temporarily enter the United States, is used exclusively for the needs of the vessel,

   and is not offered for sale or sold in or used for the manufacture of anything to be sold in or

   exported from the United States

           229.    A substantial, immediate, and real controversy exists between DeCurtis and

   Carnival regarding whether DeCurtis infringes the ’228 Patent by making, using, selling, and/or

   offering for sale DXP and related technologies and systems. A judicial declaration is necessary to

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   determine the parties’ respective rights regarding the ’228 Patent.

          230.    DeCurtis seeks a judgment declaring that DeCurtis does not infringe, either

   literally or under the doctrine of equivalents, one or more claims of the ’228 Patent by making,

   using, selling, and/or offering for sale the DXP System, either directly under 35 U.S.C. § 271(a),

   or indirectly under 35 U.S.C. §§ 271(b) and (c).

                                              COUNT IX
      Declaratory Judgment – Non-Infringement One Or More Claims Of The ’271 Patent

          231.    DeCurtis restates and incorporates by reference the allegations in paragraphs 1

   through 121, and paragraph 149, as if fully set forth herein.

          232.    On information and belief, Carnival claims to own all rights, title, and interest in

   the ’271 Patent.

          233.    The ’271 Patent has two independent claims, claims 1 and 10.

          234.    Claim 1 of the ’271 Patent recites: An assembly comprising:

                            a wireless device having a device body with a tapered shape including
                            a front surface, a rear surface having a same shape as the front surface
                            and a greater dimension than the front surface, and a cavity in which a
                            processor and at least one wireless communication antenna are
                            disposed; and

                            an accessory configured to be worn on a user body, the accessory
                            having an accessory body having opposing outer and inner surfaces
                            configured to respectively face away from and face toward the user
                            body when the accessory is worn on the user body,

                            wherein the accessory body has a tapered cavity extending between
                            the inner and outer surfaces and configured to releasably receive the
                            wireless device, and the tapered cavity includes a front opening, in the
                            outer surface of the accessory body, having a smaller dimension than
                            a rear opening, in the inner surface of the accessory body, and the
                            front opening having the same shape as and a smaller dimension than
                            the front and rear surfaces of the device body to prevent the wireless
                            device from passing through the front opening.

          235.    Claim 10 of the ’271 Patent recites: A wireless device comprising:


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                           a body having a tapered shape including a front surface, a rear surface
                           having a same shape as the front surface and a dimension greater than
                           the front surface, and a peripheral side surface connecting the front
                           and rear surfaces; and

                           four magnets embedded within the body and disposed on the
                           peripheral side surface along an outer periphery of the body,

                           wherein the body includes a cavity in which a processor and at least
                           one wireless communication antenna are disposed, and
                           wherein at least two adjacent magnets among the four magnets
                           disposed on the peripheral side surface of the body each have a pole
                           of a same polarity facing the outer periphery of the body.

          236.    DeCurtis does not directly or indirectly infringe claims 1 and 10 of the ’271

   Patent by making, using, selling, and/or offering for sale the DXP System, either literally or

   under the doctrine of equivalents, at least because the DXP System does not employ, include, or

   otherwise make use of a wireless device comprising a “device body with a tapered shape

   including a front surface, [and] a rear surface having a same shape as the front surface and a

   greater dimension than the front surface” (claim 1); or a “body having a tapered shape including

   a front surface, a rear surface having a same shape as the front surface and a dimension greater

   than the front surface” (claim 10). The DXP System does not comprise wireless devices with

   front and rear surfaces having the same shape with the rear surface having a greater dimension.




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          Carnival Patents:                    DXP System:                       DXP System:
          Portable Wireless               Virgin Portable Wireless           NCL Portable Wireless
         Device and Accessory              Device and Accessory              Device and Accessory




          237.    DeCurtis does not directly or indirectly infringe claim 10 of the ’271 Patent by

   making, using, selling, and/or offering for sale the DXP System, either literally or under the

   doctrine of equivalents, at least because the DXP System does not employ, include, or otherwise

   make use of a wireless device comprising “four magnets embedded within the body and disposed

   on the peripheral side surface along an outer periphery of the body.” The DXP System does not

   comprise wireless devices with magnets.

          238.    In addition, DeCurtis does not directly or indirectly infringe any claims of the

   ’271 Patent by making, using, selling, and/or offering for sale the DXP System, either literally or

   under the doctrine of equivalents, at least because its DXP System is used only on vessels

   registered in foreign countries that temporarily enter the United States, is used exclusively for the

   needs of the vessel, and is not offered for sale or sold in or used for the manufacture of anything

   to be sold in or exported from the United States

          239.    A substantial, immediate, and real controversy exists between DeCurtis and

   Carnival regarding whether DeCurtis infringes the ’271 Patent by making, using, selling, and/or

   offering for sale DXP and related technologies and systems. A judicial declaration is necessary to
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   determine the parties’ respective rights regarding the ’271 Patent.

          240.    DeCurtis seeks a judgment declaring that DeCurtis does not infringe, either

   literally or under the doctrine of equivalents, one or more claims of the ’271 Patent by making,

   using, selling, and/or offering for sale the DXP System, either directly under 35 U.S.C. § 271(a),

   or indirectly under 35 U.S.C. §§ 271(b) and (c).

                                               COUNT X
      Declaratory Judgment – Non-Infringement One Or More Claims Of The ’642 Patent

          241.    DeCurtis restates and incorporates by reference the allegations in paragraphs 1

   through 121, and paragraph 149, as if fully set forth herein.

          242.    On information and belief, Carnival claims to own all rights, title, and interest in

   the ’642 Patent.

          243.    The ’642 Patent has one independent claim, claim 1.

          244.    Claim 1 of the ’642 Patent recites:

                  An accessory configured to be worn by a user, the accessory comprising:

                            a metal body having opposing front and rear outer surfaces
                            respectively configured to face away from and towards the user when
                            the accessory is worn,
                            wherein the metal body has a tapered cavity extending between a
                            front opening in the front outer surface of the metal body and a rear
                            opening in the rear outer surface of the metal body, the rear opening
                            has a same shape as the front opening, and the rear opening has a
                            dimension that is greater than that of the front opening, and

                            wherein the metal body has at least one gap extending there through
                            from the front outer surface to the rear outer surface, and from the
                            tapered cavity to an outer peripheral surface of the metal body
                            extending between the front and rear outer surfaces, and having a
                            non-conducting material therein.

          245.    DeCurtis does not directly or indirectly infringe claim 1 of the ’642 Patent by

   making, using, selling, and/or offering for sale the DXP System, either literally or under the

   doctrine of equivalents, at least because the DXP System does not employ, include, or otherwise
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   make use of an accessory configured to be worn by a user that comprises “a tapered cavity

   extending between a front opening in the front outer surface of the metal body and a rear opening

   in the rear outer surface of the metal body.” The DXP System does not comprise an accessory

   configured to be worn by a user with the claimed shapes and further, the accessories configured

   to be worn by the users do not include metal bodies.

          246.    DeCurtis does not directly or indirectly infringe claim 1 of the ’642 Patent by

   making, using, selling, and/or offering for sale the DXP System, either literally or under the

   doctrine of equivalents, at least because the DXP System does not employ, include, or otherwise

   make use of an accessory configured to be worn by a user that comprises a rear opening wherein

   “the rear opening has a same shape as the front opening” and wherein “the rear opening has a

   dimension that is greater than the front opening.” The DXP System does not comprise an

   accessory configured to be worn by a user with the claimed shapes.

          247.    In addition, DeCurtis does not directly or indirectly infringe any claims of the

   ’642 Patent by making, using, selling, and/or offering for sale the DXP System, either literally or

   under the doctrine of equivalents, at least because its DXP System is used only on vessels

   registered in foreign countries that temporarily enter the United States, is used exclusively for the

   needs of the vessel, and is not offered for sale or sold in or used for the manufacture of anything

   to be sold in or exported from the United States

          248.    A substantial, immediate, and real controversy exists between DeCurtis and

   Carnival regarding whether DeCurtis infringes the ’642 Patent by making, using, selling, and/or

   offering for sale DXP and related technologies and systems. A judicial declaration is necessary to

   determine the parties’ respective rights regarding the ’642 Patent.

          249.    DeCurtis seeks a judgment declaring that DeCurtis does not infringe, either

   literally or under the doctrine of equivalents, one or more claims of the ’642 Patent by making,

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   using, selling, and/or offering for sale the DXP System, either directly under 35 U.S.C. § 271(a),

   or indirectly under 35 U.S.C. §§ 271(b) and (c).

                                             Prayer For Relief

            Wherefore, DeCurtis LLC prays that the Court enter judgment in its favor as follows:

            (a) declaring the Carnival Patents unenforceable;

            (b) declaring that DeCurtis LLC’s conduct, including the DeCurtis Experience

                    Platform, does not infringe, either directly or indirectly, any claim of the ‘184

                    Patent, the ‘514 Patent, the ‘228 Patent, the ‘271 Patent, or the ‘642 Patent,

                    either literally or under the doctrine of equivalents, by making, using, selling,

                    and/or offering for sale the DXP System, and that it is therefore not liable for

                    damages or injunctive relief as a result of these activities;

            (c) declaring that the conduct of Carnival alleged above is adjudged and decreed to be

                    in restraint of trade, unlawful monopolization, and attempted monopolization in

                    violation of Section 2 of the Sherman Act;

            (d) awarding DeCurtis LLC threefold the damages that have been or will be

                    sustained;

            (e) preliminarily and permanently enjoining Carnival from continuing its unlawful

                    restraint of trade and monopolization and from tortiously interfering with the

                    business and contracts of DeCurtis LLC;

            (f)   declaring that judgment be entered in favor of DeCurtis LLC and against Carnival

                    on each of DeCurtis LLC’s claims;

            (g) finding that this is an exceptional case under 35 U.S.C. § 285;

            (h) awarding DeCurtis LLC its cost of suit, including reasonable attorneys’ fees, as

                    provided by law; and

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             (i)   granting DeCurtis LLC such other, further, and different relief as the nature of the

                     case may require or as the Court may deem just and proper.

                                     DEMAND FOR JURY TRIAL

             DeCurtis LLC, by its attorneys, hereby demand pursuant to Rule 38(b) of the Federal

     Rules of Civil Procedure, trial by jury of all issues triable by right.

   Dated: October 21, 2020                                Respectfully submitted,

                                                          DECURTIS LLC


                                                          /s/ Jason P. Stearns
                                                          By: /s/ Jason P. Stearns
                                                                  One of its attorneys


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                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on October 21, 2020, the foregoing was filed and served by

   using the CM/ECF system which will send notice of electronic filing to all counsel of record.

                                               /s/ Jason P. Stearns
                                               Attorney




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